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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

MEGAN HAYDEL                        *     CIVIL ACTION
                                    *
VERSUS                              *     NO. 19-670-JWD-RLB
                                    *
                                    *
STATE FARM MUTUAL                   *
AUTOMOBILE INSURANCE                *
COMPANY                             *
****************************************************************************

                                    JOINT STATUS REPORT

        NOW INTO COURT, through their respective undersigned counsel, come Plaintiff,

MEGAN HAYDEL, and the defendant, STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY, who respectfully submit this Rule 26 Status Report pursuant to the

Court's Order [R. Doc. 2]:

A.      JURISDICTION:

        This basis of jurisdiction of this Honorable Court falls under 28 U.S.C. § 1332 and 28 U.S.0

§§ 1411 & 1146-1451. There is, as of the date of this Joint Status Report, complete diversity

between all parties. Further, the amount in controversy exceeds $75,000 exclusive of interest and

costs. The parties do not contest the jurisdiction of this court at this time.

B.      BRIEF EXPLANATION OF THE CASE:

        1.      Plaintiff:

        On September 26, 2016, Petitioner, MEGAN HAYDEL was lawfully operating a 2011

Jeep Compass, and was traveling southbound on Nicholson Drive in East Baton Rouge Parish,

Louisiana.      KELTON BATES was operating a 2007 Cadillac CTS, and crossed traffic in an

attempt to turn left to travel southbound on Nicholson Drive in East Baton Rouge Parish,

Louisiana.   The collision sued herein is inexplicable without resort to the presumption of


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negligence in view of the fact that the defendant’s vehicle, driven by KELTON BATES, was

executing a left-hand turn maneuver at the time of the collision.

       Mr. BATES’ automobile insurer GEICO INSURANCE COMPANY issued a policy of

insurance containing limits of liability coverage for bodily injury in the amount $15,000.00 per

person and $30,000.00 per accident. On February 27, 2017, Petitioner settled her claims against

KELTON BATES, and his liability insurer, GEICO CASUALTY COMPANY for policy limits,

reserving her rights against STATE FARM (UM POLICY), thereby giving STATE FARM (UM

POLICY) a credit in the amount of $15,000.00 toward compensation of Petitioner’s damages and

claims. Further, that said primary insurance policy limit of $15,000.00 was insufficient to cover

all of the damages, losses and expenses sustained and incurred by MEGAN HAYDEL caused by

the vehicular accident of September 26, 2016 such that KELTON BATES was an underinsured

motorist who was entirely at fault in causing said accident.

       Constance Haydel (mother of plaintiff) was the owner of the 2011 Jeep Compass. This

vehicle was insured by STATE FARM, who maintained in full force and effect a policy of

automobile Uninsured/Underinsured insurance, Policy Number 232-9433-E21-18, that contained

insurance coverage provisions covering the liability of KELTON BATES to Petitioner; further,

that said policy of insurance contained limits of UM coverage for bodily injury in the amount

$500,000.00 per person and $500,000.00 per accident.

       On September 26, 2016, Petitioner provided her insurer, STATE FARM, with a proper and

sufficient satisfactory proof of loss by transmitting same by facsimile transmission and therein

made amicable demand upon Defendant for UM benefits. Further, this proof of loss included all

medical records and expenses, including proof of Petitioner’s injuries, as well as requisite proof

regarding all other applicable insurance coverages, including information pertaining to KELTON




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BATES’ insurance coverage. Additionally, on February 27, 2017, Petitioner also advised her UM

insurer that she had settled her claim against KELTON BATES and his insurer, GEICO

CASUALTY COMPANY, and reiterated her demand for UM benefits pursuant to her policy of

insurance and applicable law to fully compensate her for her damages sustained in said vehicular

accident.

       Defendant, STATE FARM, despite said written request for UM benefits after receipt of

satisfactory proof of loss, has failed within the applicable legal days to pay unto its insured,

MEGAN HAYDEL, such sums and UM benefits as would be considered reasonable, considering

the extent, gravity and permanency of the injuries suffered by MEGAN HAYDEL and the

information submitted to STATE FARM on February 27, 2017. More than thirty (30) days have

elapsed since Petitioner has made a demand for UM benefits with satisfactory proof upon

Defendant.

       As a direct result of said automobile accident, Petitioner, MEGAN HAYDEL sustained,

continues to have, and in the future will have personal injury, damages, both general and special,

and harm, including the following:

       A.      Past, present and future physical pain and suffering;
       B.      Past, present and future mental pain and suffering;
       C.      Past, present and future deterioration of her physical integrity;
       D.      Past, present and future medical expenses which will be shown more fully at trial;
       E.      Past, present and future impairment of both lifestyle and loss of enjoyment of life;
               and
       F.      All other items of damages not specifically pleaded herein that are recoverable by
               the Petitioner and are reasonable herein.

       Petitioner further alleges STATE FARM, is liable to Petitioner under La R.S. 22:1973,

requesting a judgment of an award against said insurer for all statutory penalties, including an

amount not to exceed twice the amount of damages sustained by Petitioner and for reasonable

attorney’s fees pursuant to the provisions of Section 1973(C) of Title 22 of the Louisiana Revised



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Statutes, and that Petitioner now seeks imposition of all such sanctions to the fullest extent

authorized under applicable law.

       2.      Defendant:

       The State Farm Mutual Automobile Insurance Company (hereinafter “State Farm”) is sued

in its capacity as the underinsured motorist bodily injury insurer of the plaintiff. State Farm

disputes liability for the personal injury damages sought by the plaintiff, and contends that the

amounts previously paid to plaintiff, for which State Farm is entitled to a credit, are sufficient to

compensate her for any damages she may have sustained. State Farm further denies that it has

handled plaintiff’s insurance claim in any manner that was arbitrary, capricious, or without

probable cause, such that it is not liable for any statutory damages, penalties or attorney fees. State

Farm would further direct the Court to its Answer concerning defenses pleaded.

               PENDING MOTIONS:

               None at this time

C.     ISSUES:

       1.      Plaintiff:

               Plaintiff has identified the following issues:

               1.      Plaintiff's injuries, damages and bad faith UM penalties.

               2.      Liability may or may not be an issue:

                               KELTON BATES advised the B.R.P.D. that she was attempting to
                               cross over traffic to turn left/south on Nicholson…he advised he
                               did not see Megan Haydel before the collision.

       3.      Defendant:




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       State Farm submits that the primary issues will liability for the subject accident, the nature,

causation and extent of plaintiff’s claimed personal injury damages, as well as whether State Farm

handled plaintiff’s claim in “bad faith.”



D.     DAMAGES

               1.       Plaintiff:

                        As a result of the incident sued upon herein, Plaintiff, MEGAN HAYDEL,

                        suffered the following damages to date:

                        A.     Physical pain and suffering – past, present and future;

                        B.     Mental pain, anguish, and distress – past, present and future; and

                        C.     Medical expenses – past, present and future;

                                                          TREATMENT
                    MEDICAL PROVIDER                          DATES                TOTAL BILL
                    Spine & Sports Rehab Center           9/26/16 - 6/19/17          $7,949.95
                    Baton Rouge Imaging                  10/19/16 & 1/9/17           $6,000.00
                    Injury Treatment Center - NO         11/10/16 - 10/1/18         $16,860.00
                    Summit Chiropractic                  10/2/17 - 10/10/18          $6,232.00
                    Covington Orthopedic Sports
                    Medicine Institute                        8/10/2018                 $445.00
                    Guardian Care
                    Crescent View Surgery Center              8/26/2019
                                                                                  $37,486.95
                               STILL TREATING – SUMMARY IS NOT COMPLETE


                        D.     Loss of enjoyment of life – past, present, and future;

                        E.     Statutory penalties, including an amount not to exceed twice the
                               amount of damages sustained by Petitioner and for reasonable
                               attorney’s fees pursuant to the provisions of Section 1973(C) of Title
                               22; and

                        F.     Any and all other damages to be proven at trial of this matter.



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              2.      Defendant:

       State Farm has not asserted a counterclaim. State Farm disputes the amount of damages

claimed by plaintiff, and whether such damages were caused by the subject automobile accident.



F.     SERVICE:

       All parties have appeared and answered the lawsuit.

G.     DISCOVERY

       1.     Have the initial disclosures required under FRCP 26(a)(1) been completed?

              PLAINTIFF:             Yes, sent on October 21, 2019.

              DEFENDANT:             Will be completed by November 14, 2019

       2.     Briefly describe any discovery that has been completed or is in progress:

              PLAINTIFF:

              Plaintiff has issued and served Defendant, STATE FARM MUTUAL

              AUTOMOBILE INSURANCE COMPANY with Interrogatories, Requests for

              Production of Documents, and Requests for Admission on August 27, 2019. Plaintiff

              has granted the defendants a 30-day extension. Plaintiff will need conduct several

              depositions of State Farm personnel (UM adjusters), including a 30(B)(6), and

              defendant driver depositions.

              DEFENDANT:

              State Farm has propounded written discovery to plaintiff and has gathered records.

       Depositions of plaintiff and Kelton Bates are scheduled for January 6, 2020.




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       3.      Please describe any protective orders or other limitations on discovery that

               may be required/sought during the course of discovery.

               PLAINTIFF:

               Plaintiff is not aware of any such issues at this time. Plaintiff is willing to enter into

               a protective order with defendant for certain discovery documents if necessary.

               DEFENDANT:

       It is anticipated that a protective order will be needed with regard to any discovery of

institutional, confidential, proprietary or trade secret information.

       4.      Discovery from experts:

               PLAINTIFF:

               a. Plaintiff will present expert testimony from her treating physicians. It is our

                   understanding that the treating physicians are not required to prepare expert

                   reports pursuant to the Rule 26 Expert Disclosures.

               b. Plaintiff may call a bad faith expert regarding State Farms failure to timely

                   tender UM payments - Section 1973(C) of Title 22;

               c. Life care plan expert;

               d. Economist - Economic expert; and

               e. Plaintiffs reserve the right to retain other experts as the matter proceeds.

               DEFENDANT:

       State Farm anticipates possibly retaining one or more medical experts, including requests

for independent medical examinations. State Farm also anticipates possibly retaining experts to

counter those listed or retained by Plaintiff.




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H.   PROPOSED SCHEDULING ORDER:

     1.   Exchanging initial disclosures required by FRCP 26(a)(1):

          November 14, 2019

     2.   Recommended deadlines to join other parties or to amend the pleadings:

          January 15, 2020

     3.   Filing all discovery motions and completing all discovery, except experts:

          May 29, 2020

     4.   Disclosure of identities and resumes of expert witnesses:

          PLAINTIFF:            March 15, 2019

          DEFENDANTS:           May 15, 2019

     5.   Exchange of expert reports:

          PLAINTIFF:            May 29, 2020

          DEFENDANTS:           July 15, 2020

     6.   Completion of discovery from experts:     September 1, 2020

     7.   Filing dispositive and Daubert motions:    November 1, 2020

     8.   All remaining deadlines and the pre-trial conference and trial date will be included

          in the initial scheduling order. The deadlines will be determined based on the

          presiding judge's scheduling, within the following general parameters. The parties

          should not provide any proposed dates for these remaining deadlines.

          a.     Deadline to file pre-trial order (approximately 16 weeks after dispositive

                 motion deadline).

          b.     Deadline to file motions in limine (approximately 20-22 weeks after

                 dispositive motion deadline).




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            c.      Deadline to file responses to motions in limine (approximately 22-24 weeks

                    after dispositive motion deadline).

            d.      Deadline to file an affidavit of settlement efforts (approximately 22-24

                    weeks after dispositive motion deadline).

            e.      Deadline to submit joint jury instructions, voir dire, verdict forms, and trial

                    briefs to the presiding judge (approximately 25-27 weeks after dispositive

                    motion deadline).

            f.      Pre-trial conference date (approximately 18-20 weeks after dispositive

                    motion deadline).

            g.      Trial date (approximately 27-29 weeks after dispositive motion deadline).

     9.     If the general outline of proposed deadlines does not fit the circumstance of your

            particular case, please provide a proposed joint schedule of deadlines which is more

            appropriate for your case.

I.   TRIAL

     1.     Has a demand for trial by jury been made?
            Yes.

     2.     Estimate the number of days that trial will require.

            3 - 4 days.

J.   OTHER MATTERS

     There are no other matters to address at this time. The parties agree to cancel the

     conference and enter a scheduling order based on the deadlines set out in this report.

     Plaintiffs’ counsel has a deposition set for 5:00 pm on the day of this conference, which

     was scheduled prior to the order being issued.

K.   SETTLEMENT



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       The parties have had no settlement discussions at this early juncture and therefore, do not

       believe a settlement conference would be helpful at this time.

L.     CONSENT TO JURISDICTION BY A MAGISTRATE JUDGE:

       You have the right to waive your right to proceed before a United States District Judge and

       may instead consent to proceed before a United States Magistrate Judge. Indicate whether,

       at this time, all parties will agree, pursuant to 28 U.S.C. § 636(c), to have a Magistrate

       Judge handle all the remaining pretrial aspects of this case and preside over a jury or bench

       trial, with appeal lying to the United States Court of Appeals for the Fifth Circuit.

All parties agree to jurisdiction by a Magistrate Judge of this court?

       [   ] YES       [ X ] NO

Report Dated: 11-6-2019                       RESPECTFULL SUBMITTED:

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                                              -and –

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                                                       Attorneys for Plaintiff, MEGAN HAYDEL




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                             -and-



                                     Respectfully submitted,

                                     SCHUTTE, TERHOEVE,
                                     RICHARDSON, EVERSBERG,
                                     CRONIN, JUDICE & BOUDREAUX


                                     By:_/s/ Brad M. Boudreaux __________
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